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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
WALTER C. SAENZ, et al, §
Plaintiffs,
VS. § CIVIL ACTION NO. 4:21-CV-661
U.S. BANK, N.A.,
Defendant.

NOTICE OF TELEPHONE HEARING

The parties in the above styled case are notified that a telephone hearing has been set
pertaining to the Temporary Restraining Order [Doc. No. 7]. The hearing is scheduled on
Wednesday, March 10, 2021 at 4:30 PM. Instructions for calling are as follows:

Telephone Number: 713-250-5817
Conference ID: 45817#
Conference Password: 13579#
NOTE: ALL COUNSEL OF RECORD RECEIVING THIS NOTICE ARE

ORDERED TO NOTIFY ALL OTHER COUNSEL IN THIS CASE OF
THE CONTENTS OF THIS NOTICE.

 

Date: March 5, 2021 Nathan Ochsner, Clerk of Court

By: R. Hawkins, Case Manager

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